
*565OPINION.
Teammell
: The Commissioner, in adjusting the tax liability by allowing a deduction on account of the abandonment of 66 manuscripts, on the basis of a value of $8 each, did so on the theory that, with the exception of those used in 1918, the others had become obsolete prior to that time. A tabulation of the years in which the manuscripts were used, submitted by the taxpayer, shows that no use of a great many of them was made after the first few years following their acquisition, while others were used several times during the entire period of 1908 to 1918. Some were used *566only once, and others a number of times. The testimony of the former secretary-treasurer and editor is to the effect .that the manuscripts were not discarded .prior to 1918, for the reason that they had a potential value. However, a number of the writings were not used after the first few years of the organization of the taxpayer company. Others were discarded later, and we are of the opinion that those manuscripts became obsolete prior to the year 1918. A deduction may be allowed in 1918 with respect only to those manuscripts which were abandoned or discarded in that year. We believe from the evidence, however, that those manuscripts which the taxpayer had ceased to use prior to 1918 were abandoned and became obsolete prior to that year.
